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                         UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF KENTUCKY
                              LOUISVILLE DIVISION
                        CIVIL ACTION NO. 3:16-cv-00018-DJH

  SCHILLER KESSLER & GOMEZ, PLLC
  Through its representative Alan Lani

         Plaintiff,

  v.

                                NOTICE OF APPEAL



  SCHILLER KESSLER & GOMEZ, PLC, et al.

        Defendants.
  ________________________________________________________________________
         Notice is hereby given that Alan Lani, on behalf of Schiller, Kessler & Gomez,

  PLLC, Plaintiff in the above-named case, hereby appeals to the United States Court of

  Appeals for the Sixth Circuit from an Order awarding Attorney's Fees entered in this

  action on December 19, 2016 (DE 30).




                                            Respectfully submitted,

                                            KINSER LAW, PLLC


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                              CERTIFICATE OF SERVICE

         It is hereby certified that on this, the 24th day of March, 2017, a copy of the

  foregoing was filed via ECF and service to the following recipients has been effected via

  the transmission of Notice of Electronic Filing pursuant to LR 5.5:




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                                                /s/ Jason A. Kinser__________
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